













Opinion issued December 15, 2005








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-01085-CV
____________

ESPILI MEHRIARK KAVIANI, INDIVIDUALLY AND D/B/A SUMMIT
INTERNATIONAL TRADING COMPANY, Appellant

V.

NATIONAL OIL-WELL, L.P., Appellee




On Appeal from the 55th District Court
Harris County, Texas
Trial Court Cause No. 2003-18635




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed an unopposed motion to dismiss his appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Alcala and Bland.


